                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                              1:07cr122-1

UNITED STATES OF AMERICA,                                )
                                                         )
Vs.                                                      )         ORDER
                                                     )
BOBBY LEE MEDFORD.                                       )
_______________________________                          )

        THIS MATTER is before the court on defendant’s Motion for Appointment

of Counsel made in open court. The court has considered the financial affidavit of

defendant, which reflects gross income of between $5,000.00 to $6,000.00 per month,

and liabilities of approximately $3,000.00. Considering federal taxation of such gross

income and other likely adjustments, and deducting fixed monthly expenses, it would

appear that defendant has approximately $750.00 in excess income. Considering such

income and the lack of tangible assets, the court finds that defendant would be unable

to retain counsel with the experience and expertise to handle this type of action. Where

a person has income that is insufficient to provide for privately retained counsel,

Volume VII of the Guide to Judiciary Policies and Procedures, provides in relevant

part as follows:

        If a person’s net financial resources and income anticipated prior to trial
        are in excess of the amount needed to provide him and his dependents
        with the necessities of life . . . but are insufficient to pay fully for retained

                                               -1-


      Case 1:07-cr-00122-TSE-WCM           Document 29        Filed 01/08/08     Page 1 of 3
       counsel, the judicial officer should find the person eligible for the
       appointment of counsel under the Act and should direct him to pay the
       available excess funds to the Clerk of the Court at the time of such
       appointment or from time to time thereafter. Such funds shall be held
       subject to the provisions of subsection (f).

Guide to Judiciary Policies and Procedures, Vol. VII, § 2.05. Finding excess income

of $750, the court will grant the request for appointment of counsel, but direct payment

by defendant of such funds to the Clerk of Court. Id., at § 2.22(E). Such payments

must be made not later than the 15 th of each month, made payable to the Clerk of the

United States Court, and shall begin with January 2008 and continue until the entire

amount of counsel’s compensation is repaid by defendant. The court will reconsider

such amount upon motion of either party showing a change of circumstances.

       The court, therefore, appoints Stephen P. Lindsey, Esq., of the Buncombe

County Bar and the Bar of this Court to represent defendant herein under a partial

eligibility finding.

                                       ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion for Appointment

of Counsel (oral motion) is GRANTED, and defendant is directed to pay the sum of

$750 monthly into the Clerk of this Court, not later than the 15 th of each month

beginning with January 2008, and continuing thereafter until the entire amount is paid,

and STEPHEN P. LINDSEY is appointed as counsel for defendant herein.

                                          -2-


    Case 1:07-cr-00122-TSE-WCM          Document 29      Filed 01/08/08     Page 2 of 3
                                 Signed: January 7, 2008




                                -3-


Case 1:07-cr-00122-TSE-WCM   Document 29     Filed 01/08/08   Page 3 of 3
